    Case:19-02465-ESL13 Doc#:31 Filed:07/02/19 Entered:07/02/19 12:17:23                                                            Desc: Main
                        IN THE UNITED STATES BANKRUPTCY
                                  Document   Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

SANDRO FUENTES GARCIA                                                                        CASE NO. 19-02465-ESL
                                                                                             CHAPTER 13
   DEBTOR(S)
                                                                                                **AMENDED DOCUMENT**

                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. The applicable commitment period is: 5 Years

2. The liquidation value of the estate is $: 0.00

3. The general unsecured pool is $: 0.00



               AMENDED PLAN DATE: June 27, 2019                                               PLAN BASE: $54,612.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 7/2/2019
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] INSUFFICIENTLY FUNDED § 1325(b):

  Plan is insufficiently funded to pay priorities creditors. Sufficiency of the plan will depends on outcome of
debtor's objection to claim 5 -1 by ASUME. If prevails plan may be sufficient.




NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Pedro R Medina
                                                                                        Pedro R Medina
Atty: MELISSA COFAN HERNANDEZ                                                           USDC #226614
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - EN
